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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 0:15-cv-62615-CMA
SHAUNTEL WHITE,
Plaintiff,
VS.
HORIZON BY-THE-SEA INN, INC.,

a Florida corporation, and JOHN ZYCH,
an Individual,

 

 

Defendants.
/
AFFIDAVIT OF CHAD E. LEVY
STATE OF FLORIDA
COUNTY OF BROWARD

I, Chad E. Levy, being first duly sworn, depose and state that I am over eighteen years ofage,
that I am sui juris and that I make this affidavit from personal knowledge. I further state as follows:
1. I am an attorney licensed to practice law in the State of Florida and in the United

States District Court for the Southern District of Florida. I have been licensed to practice law since

2004.

2. I am lead counsel for the Plaintiff in the above-captioned action.

3. I am a managing partner in the firm of Levy & Levy, P.A.

4. My practice spends approximately 95% of the time on employment related matters,
primarily as plaintiff counsel. In the course of my practice, I have handled over two-thousand

employment related litigation matters, including over 400 cases in the Southern District of Florida, a

number of which involve the FLSA.
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5. Examining these circumstances, the handling and resolution of this case was
reasonable, including pre-suit investigation and communications, reviewing of time records, filing of
the litigation, and settlement negotiations/communications, all of which were necessary in order to

reach the end result of having my client paid.

6. As this firm’s managing partner responsible for this litigation, I drafted and revised
letters and pleadings and other documents submitted to the Court, drafted and reviewed e-mails,
conducted legal research, and communicated with the client.

7. Based upon my firm’s experience in the handling of employment related matters, and
my extensive knowledge on the subject, my current reasonable hourly rate for the legal services
rendered in this case is $350.00 per hour and this rate is within the range of the prevailing market

| rates for fee award in cases of this type.

8. With respect to this action, I documented the legal services rendered on this case for
the time spent and reviewed these time entries for the application for attorney’s fees and cost. The
number of hours documented as spent in providing legal services, as well as the regular hourly rates,
is reasonable under these circumstances.

9. The firms also noted all costs and expenses incurred in this action in an itemized
fashion and then maintained such records, and an invoice was made therefrom. The invoice contains
the complete itemization of all costs and expenses incurred, totaling $500.00. The expenses and costs

incurred were made sufficiently contemporaneous to the events.
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CHAD E. LEVY ee

STATE OF FLORIDA )
) SS:
COUNTY OF BROWARD _)
BEFORE ME, the undersigned authority, personally appeared CHAD E. LEVY, who being
first duly sworn, deposes and says on oath that he has read the foregoing Affidavit consisting of three
_(3) pages, subscribed to by him, and that the matters therein contained are true and correct to the best

of his knowledge and belief.

SWORN TO AND SUBSCRIBED before me this 7" day of March, 2016.

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“NOTARY PUBLIC, State of Florida

Personally Known _“S OR Produced Identification

Type of Identification Produced

 

    

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